PROB 22 DOCKET NUMBER (Tran. Court)

(Rev. 2/88) 2:03CR20019-003
TRANSFER OF JURISDICTION

DOCKET NUMBER (Rec. Court)

S14-00030-0!
NAME AND ADDRESS OF PROBATIONER/SUPER VISED RELEASEE: DISTRICT DIVISION
WESTERN DISTRICT OF Fort Smith
ARKANSAS
Peter Gray NAME OF SENTENCING JUDGE

Honorable Robert T. Dawson

DATES OF PROBATION/SUPERVISED FROM TO
RELEASE: 9-9-13 9-8-18

OFFENSE

Conspiracy to Distribute Methamphetamine

PART I - ORDER TRANSFERRING JURISDICTION

UNITED STATES DisrRict courTrorTHE WESTERN DISTRICT OF ARKANSAS

IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of the Court to the United States District Court for the Middle

District of Tennessee upon that Court’s order of acceptance of jurisdiction. This Court hereby expressly consents
that the period of probation or supervised release may be changed by the District Court to which this transfer is made
without further inquiry of this Court.*

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t
Date United States District Judge

*This sentence may be deleted in the discretion of the transferring Court.

PART 2- ORDER ACCEPTING JURISDICTION

uNireD staves District court roRTHE Middle District of Tennessee

IT iS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.

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Effective Date United@brates District Judge Y\

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